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  I                                                               Honorable Mary Alice Theiler
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 7                        UNITED STATES DISTRICT COURT FOR THE
                            WESTERN DISTRICT OF WASHINGTON
 8
                                       AT SEATTLE
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10
        UNITED STATES OF AMERICA,
11                                                        CASE NO.      MJ21-512
                               Plaintiff,
12
                         v.                               COMPLAINT for VIOLATION
13
        ROY NAUGHTON,                                     18 U.S.C. § 113(a)(4)
14      COLTER O'DELL, and GLEN BALDWIN
15
16
                              Defendants.
17
18
           BEFORE the Honorable Mary Alice Theiler, United States Magistrate Judge,
19
20 Seattle, Washington.
             The undersigned complainant being duly sworn states:
21
                                                   COUNT!
22
                                 (Assault by Striking, Beating, or Wounding)
23
             On or about January 11,2021, within the Western District of Washington, the
24    defendants, ROY NAUGHTON, COLTER O'DELL, and GLEN BALDWIN, inmates in
25    the Sea-Tac Federal Detention Center, committed an assault within the territorial
26 jurisdiction of the United States by striking, beating, or wounding another inmate, John
27 Doe.
28         All in violation of Title 18, United States Code, Section 113(a)(4).
      COMPLAINT -NAUGHTON, O'DELL, & BALDWIN - 1                          UNITED STATES ATTORNEY
                                                                           700 STEWART ST., SUITE 5220
                                                                           SEATTLE, WASHINGTON 98101
                                                                                  (206)   553-7970
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 1
 2          The undersigned complainant being duly sworn further states:
 3                                   AFFIANT BACKGROUND
 4          1.       I, Micheal Moore, am a Special Agent ("SA") with the Federal Bureau of
 5 Investigation ("FBI") and have been so employed since September, 2019. I am currently
 6 assigned to the civil rights and public corruption squad in the Seattle, Washington office.
 7 As a FBI Special Agent, I have been trained to investigate a variety of crimes, including
 8 cases involving assault and those in a federal penal institution, including detention
 9 centers. In this capacity, I investigate, inter alia, violations of Title 18, United States
10 Code, Section 113 et seq., and related offenses.
11          2.       The statements contained in this affidavit are based upon my investigation
12 and information provided to me by others familiar with this matter, including other law
13 enforcement officers. I have not included each and every fact known to me or other
14 investigative personnel concerning this investigation.    I have set forth only the facts I
15 believe are necessary to establish probable cause to believe that ROY NAUGHTON,
16 COLTER O'DELL, and GLEN BALDWIN committed the crime of Assault by Striking,
17 Beating, or Wounding in violation of Title 18, United States Code, Section 113(a)(4).
18                             SUMMARY OF PROBABLE              CAUSE
19          3.       On or about January 11,2021, inmates NAUGHTON, O'DELL, and
20   BALDWIN assaulted inmate John Doe in the DC unit of the Sea-Tac Federal Detention
21   Center ("FDC-SeaTac").      According to a FDC-SeaTac investigative report, inmate John
22   Doe told investigators that NAUGHTON and O'DELL entered his cell and told him to
23   "put in work," referring to assaulting another inmate, or pay rent in the amount of fifteen
24   dollars per week, to stay in the unit. When John Doe refused to comply with
25 NAUGHTON and O'DELL's demands, inmates NAUGHTON and O'DELL assaulted
26   John Doe in his cell. John Doe further told FDC-SeaTac investigators that while he was
27   being assaulted, NAUGHTON and O'DELL began yelling, "How do you like that, you
28
     COMPLAINT -NAUGHTON, O'DELL, & BALDWIN - 2                            ~TEDSTATESATTORNEY
                                                                            700 STEWART ST., SUITE 5220
                                                                            SEATTLE, WASHINGTON      98101
                                                                                  (206)   553-7970
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 1 fucking faggot?" Once the assault moved to the common area of the unit, inmate
 2 BALDWIN joined NAUGHTON and O'DELL in assaulting John Doe.
 3          4.     Institutional cameras were in place and recorded the assault on January 11,
 4 2021. FDC-SeaTac staff conducted an internal review of the institutional camera footage
 5 of the assault and identified inmate NAUGHTON and inmate O'DELL as the inmates
 6 who initiated the assault on John Doe. Inmate BALDWIN was also identified as another
 7 inmate who participated in the assault of John Doe. I have reviewed the FDC-SeaTac
 8 institutional camera recording of the assault, as well as photographs of inmates John Doe,
 9 NAUGHTON, O'DELL, and BALDWIN. My review of the video surveillance and
10 photographs is consistent with the statements of John Doe and the FDC-SeaTac staff
11 review of the surveillance footage.
12          5.    On February 26,2021, John Doe was interviewed by agents at FDC-
13 SeaTac. John Doe's attorney was present for the interview by phone. John Doe told
14 agents that NAUGHTON, O'DELL, and BALDWIN approached him and told him that if
15 he did not pay them fifteen dollars per week in rent and assault two other inmates, then
16 they were going to beat the shit of him on Monday [January 11,2021].      BALDWIN told
17 John Doe, "We think you're alright, but you can't be gay in the unit. It's not how it
18 works." John Doe further told agents that on January 11,2021, NAUGHTON came into
19 his cell, and John Doe told NAUGHTON that he was not going to pay NAUGHTON rent
20   and said "fuck you" to NAUGHTON.      NAUGHTON immediately threw a punch and hit
21   John Doe in the face. John Doe told agents that he defended himself and hit
22 NAUGHTON once or twice. John Doe told agents that he then pushed NAUGHTON
23   back into the cell door which opened, and John Doe and NAUGHTON's         momentum
24   carried them into the common area of the unit. John Doe managed to place NAUGTHON
25   in a temporary headlock to prevent NAUGHTON from continuing to hit him. Inmates
26   O'DELL and BALDWIN then joined the assault and began punching and kicking John
27   Doe, such that he could no longer defend himself from inmates NAUGHTON, O'DELL,
28   and BALDWIN's attacks.
     COMPLAINT-NAUGHTON,     O'DELL, & BALDWIN - 3                      ~TEDSTATESATTORNEY
                                                                         700 STEWARTST., SUITE5220
                                                                         SEATTLE,WASHINGTON98101
                                                                                (206) 553-7970
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 1          6.       On February 26,2021, agents interviewed John Doe's cellmate, C.H ..
 2 C.H. 's attorney was present for the interview by phone. C.H. stated that on January 11,
 3 2021, he observed NAUGHTON follow John Doe into the cell and shut the cell door
 4 behind him. C.H. looked through the cell door window and saw NAUGHTON throw a
 5 couple of punches at John Doe. C.H. began to back away from the cell as the cell door
 6 was thrown open. C.H. saw John Doe holding NAUGHTON in a head lock and then
 7 O'DELL and BALDWIN ran up to NAUGHTON.                  C.H. observed both O'DELL and
 8 BALDWIN begin hitting John Doe. C.H. then observed NAUGHTON, O'DELL, and
 9 BALDWIN kicking and punching John Doe while saying slurs, including, "You like that
10 fag."
11          7.       I have reviewed documentation from the medical assessment of John Doe
12 performed by FDC-SeaTac medical personnel after the assault on January 11,2021. The
13 documentation notes that John Doe had a superficial, non-bleeding cut on his right index
14 finger, superficial and non-bleeding scratches on his forehead and redness to the
15 back/nape of his neck. During John Doe's interview with agents, John Doe reported that
16 after the assault he could not open his jaw fully, his face and head were swollen, he had a
17 lump on his head, and he had a swollen elbow with a bump on his elbow. John Doe stated
18 that he had swelling for about three weeks after the assault and that his elbow still hurt at
19 the time of the interview. John Doe also believed his nose was broken as a result of the
20   assault because he could feel the bone separated in his upper nose area, but that he had
21   not been seen by medical staff for his nose. John Doe also reported pain in his collar
22   bone, which he was still experiencing significant pain at the time of the interview.
23          8.       Members of the FDC-SeaTac staff interviewed inmates housed in the DC
24   unit ofFDC-SeaTac      concerning their observations of the assault and behaviors
25   demonstrated by NAUGHTON, O'DELL, and BALDWIN towards other inmates.
26          9.       The Sea- Tac Federal Detention Center is a federal detention center operated
27   by the United States Bureau of Prisons located in Sea-Tac, Washington.
28 II
      COMPLAINT -NAUGHTON, O'DELL, & BALDWIN - 4                           UNITED STATES ATTORNEY
                                                                            700 STEWART ST., SUITE 5220
                                                                            SEATTLE, WASHINGTON 98101
                                                                                   (206) 553-7970
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 1                                       CONCLUSION
 2         9.     Based on the above facts, I respectfully submit that there is probable cause
 3 to believe that ROY NAUGHTON, COLTER O'DELL, GLEN BALDWIN committed
 4 the crime of Assault by Striking, Beating or Wounding, in violation of Title 18, United
 5 States Code, Section 113(a)(4).
 6

 7

 8                                            Miclieal Moore, Co
                                              Special Agent, FBI
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11         Based on the Complaint and Affidavit sworn to before me telephonically, the
12 Court hereby finds that there is probable cause to believe the Defendants ROY
13 NAUGHTON, COLTER O'DELL, and GLEN BALDWIN committed the crime of
14 Assault by Striking, Beating or Wounding, in violation of Title 18, United States Code,
15 Section 113(a)(4).
16
17         Dated this 13th day of September 2021.
18
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20
                                             Honorable Mary Alice Theiler
21
                                             United States Magistrate Judge
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     COMPLAINT -NAUGHTON, O'DELL, & BALDWIN - 5                         UNITED STATES ATTORNEY
                                                                         700 STEWART ST., SUITE 5220
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                                                                               (206)   553-7970
